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                                                                                         M /
                IN THE DNITED STATES DISTRICT COURT


                FOR THE SOUTHERN DISTRICT OF GEORGIA
                                                              (liiiDnnr^n AH 10= 28

                           SAVANNAH DIVISION
                                                                        -J.j /] I   cA.


THE UNITED STATES OF AMERICA,


               Plaintiff,

                V,                           4:16CR258-02


THOMAS DARNELL GLOVER,


               Defendant




                               ORDER




     Counsel in the above-captioned case have advised the Court

that all pretrial motions have been complied with and/or that all

matters raised in the parties' motions have been resolved by

agreement. Therefore, a hearing in this case is deemed unnecessary.




     SO ORDERED, this      zo'^day of October, 2016



                                UNITED STATES MAGISTRATE JUDGE
                                SOUTHERN DISTRICT OF GEORGIA
